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15                                UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA,
17                                    SAN FRANCISCO DIVISION
18

19   SONOS, INC.,                                   Case No. 3:20-cv-06754-WHA
20          Plaintiff and Counter-defendant,        Consolidated with
                                                    Case No. 3:21-cv-07559-WHA
21   v.
                                                    SONOS, INC.’S NOTICE OF LODGING
22   GOOGLE LLC,                                    OF ADDITIONAL DEPOSITION
                                                    TESTIMONY PLAYED VIA VIDEO AT
23          Defendant and Counter-claimant.         TRIAL
24                                                  Judge: Hon. William Alsup
                                                    Courtroom: 12, 19th Floor
25                                                  Trial Date: May 8, 2023
26

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28
                                                          SONOS’S NOTICE OF LODGING OF ADDITIONAL
                                                         DEPO TESTIMONY PLAYED VIA VIDEO AT TRIAL
                                                                               3:20-CV-06754-WHA
     Case 3:20-cv-06754-WHA           Document 793          Filed 06/02/23    Page 2 of 3



 1            PLEASE TAKE NOTICE that Sonos, Inc. hereby lodges the below deposition testimony
 2   as presented and played via video during the trial in this matter held by the Honorable William
 3   Alsup:
 4            Attachment 1 – Video clip reports of the deposition testimony of Tomer Shekel taken on
 5   November 23, 2022, as presented and played during the direct examination of James
 6   Malackowski on May 12, 2023:
 7

 8    Date/Deponent                           Page/Line                      Trial Transcript
      11/23/2022 Tomer Shekel                 99:9-16                        1121:17-19
 9
      11/23/2022 Tomer Shekel                 109:12-19                      1121:20-22
10

11            Attachment 2 – Video clip reports of the deposition testimony of Kenneth MacKay taken
12   on May 10, 2022 and January 25, 2023, as presented and played during the cross-examination of
13   Kenneth MacKay on May 16, 2023:
14

15    Date/Deponent                           Page/Line                      Trial Transcript

16    5/10/2022 Kenneth MacKay                117:16-20 (117:17-24           1276:15-21
                                              played)
17
      5/10/2022 Kenneth MacKay                95:13-20                       1277:14-19
18    1/25/2023 Kenneth MacKay                55:19-24                       1287:16-19
19

20            Attachment 3 - Video clip reports of the deposition testimony of Dan Schonfeld taken on

21   August 31, 2022 and February 3, 2023, as presented and played during the cross-examination of

22   Dan Schonfeld on May 17, 2023:

23

24    Date/Deponent                           Page/Line                      Trial Transcript
      2/3/2023 Dan Schonfeld                  44:18-45:12                    1460:20-25
25
      8/31/2022 Dan Schonfeld                 49:12-16                       1462:4-6
26
      8/31/2022 Dan Schonfeld                 51:4-8                         1462:17-19
27    8/31/2022 Dan Schonfeld                 174:21-25                      1476:14-16
28
                                                        2         SONOS’S NOTICE OF LODGING OF ADDITIONAL
                                                                 DEPO TESTIMONY PLAYED VIA VIDEO AT TRIAL
                                                                                       3:20-CV-06754-WHA
     Case 3:20-cv-06754-WHA           Document 793       Filed 06/02/23       Page 3 of 3



 1    Date/Deponent                          Page/Line                       Trial Transcript
 2    8/31/2022 Dan Schonfeld                175:1-10                        1476:23-25
 3    8/31/2022 Dan Schonfeld                185:17-186:10                   1477:18-20

 4    8/31/2022 Dan Schonfeld                216:12-217:2                    1482:18-20
      8/31/2022 Dan Schonfeld                226:21-227:6                    1484:25-1485:2
 5

 6

 7            Attachment 4 – DVD containing excerpts of the deposition testimony of Tomer Shekel
 8   taken on November 23, 2022, as identified in Attachment 1, which will be manually filed with the
 9   Court.
10
              Attachment 5 – DVD containing excerpts of the deposition testimony of Kenneth MacKay
11
     taken on May 10, 2022 and January 25, 2023, as identified in Attachment 2, which will be
12
     manually filed with the Court.
13

14            Attachment 6 - DVD containing excerpts of the deposition testimony of Dan Schonfeld

15   taken on August 31, 2022 and February 3, 2023, as identified in Attachment 3, which will be

16   manually filed with the Court.

17
     Dated: June 2, 2023                         ORRICK HERRINGTON & SUTCLIFFE LLP
18
                                                 and
19                                               LEE SULLIVAN SHEA & SMITH LLP

20                                               By: /s/ Clement Seth Roberts
                                                     Clement Seth Roberts
21
                                                 Attorneys for Sonos, Inc.
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                                                    3           SONOS’S NOTICE OF LODGING OF ADDITIONAL
                                                               DEPO TESTIMONY PLAYED VIA VIDEO AT TRIAL
                                                                                     3:20-CV-06754-WHA
